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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                         )
                                      )
              Plaintiff,              )
                                      )
     v.                               )     Case No. 1:21-cv-3271-CJN
                                      )
NANCY PELOSI, et al.                  )
                                      )
                                      )




                                 Exhibit D
                 Case 1:21-cv-03217-CJN Document 15-5 Filed 04/22/22 Page 2 of 4
Message
From:          Mark Meadows [congressnc@gmail.com]
Sent:          12/6/2020 9:54:21 AM
To:            Jason Miller [jmiller@donaldtrump.com]
Subject:       Fwd: GA --Documents and Talking points re: election contest --
Attachments:   December 4, 2020 - Press Statement - R Smith.pdf; Untitled attachment 00028.htm; Exhibit 17 Appendix.pdf;
               Untitled attachment 00031.htm; Untitled attachment 00034.pdf; Untitled attachment 00037.htm; VERIFIED
               PETITION TO CONTEST GEORGIA ELECTION.pdf; Untitled attachment 00040.htm; Christian Adams Declaration
               GA.pdf; Untitled attachment 00043.htm




Sent from my iPhone

Begin forwarded message:

          From: "Mitchell, Cleta" <CMitchell@foley.com>
          Date: December 6, 2020 at 9:50:07 AM EST
          To: Mark Meadows <congressnc@gmail.com>
          Subject: Fwd: GA —Documents and Talking points re: election contest —

           This is what I prepared and sent to Sen Braun last night to help prepare him for ABC appearance
          this am. Can the WH press office get and start using??

          Cleta Mitchell, Esq.
          Foley & Lardner, LLP
          cmitchell@foley.com
          202.431.1950 (cell)
          202.295.4081 (office)
          Sent from my iPhone

          Begin forwarded message:

                 From: "Mitchell, Cleta" <CMitchell@foley.com>
                 Date: December 5, 2020 at 9:42:00 PM EST
                 To: "Kelley, Joshua (Braun)" <Joshua_Kelley@braun.senate.gov>, Mike Braun
                 <MikeK@meyerdistributing.com>
                 Subject: GA --Documents and Talking points re: election contest --

                  Here is the petition filed yesterday in GA -- it details the violations of the GA
                 Election Code during the Nov 3 election. If you read the introduction, it is the
                 summary of the suit. Exh 17 is the list of sworn affidavits from GA citizens about
                 the violations they witnessed. Signed under penalty of perjury. The press
                 statement is good talking points. The memorandum of law is worth reading just
                 to know we are not making up the law. NOTE: there is nothing in this suit
                 regarding Dominion or China or Venezuela or any of that. This is basic factual
                 information, sworn to under penalty of perjury, of GA citizens who witnessed the
                 violations -- along with data experts who examined and analyzed the GA voting
                 records and files.

                 Here are the key points:

                 1. the US Constitution gives the authority to state legislatures to appoint



                                                                                                                       MM005596
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presidential electors.
2. the legislatures determine the manner for choosing the electors.
3. the GA legislature (and other legislatures) have adopted election laws --to
ALLOW citizens to participate. But that is not required in the Constitution. in
GA the legislature adopted the GA Election Code - allowing the citizens to
express their will re the presidential electors.
4. In GA , as in the other states, the left wing groups and the Democratic party
went around the legislatures all over the country to get judges and exec branch
officials to create election procedures that violate the state laws enacted by the
legislatures for choosing presidential electors. See the affidavit of Christian
Adams
5. In GA, we have documented literally thousands of illegal votes that were cast,
counted, and included in the tabulations - votes that violated the Election Code
adopted by the legislature.
6. These illegal votes were outside the margin of victory in GA for Biden. Many
times over.
7. The lawsuit filed on Fri by the Trump campaign is a GA election contest,
provided in the GA statutes - in the Election Code. Every state has a provision
allowing for a candidate or a voter to challenge the outcome of an election. That
is what the GA Campaign has filed.
8. the statutory remedy under GA law is a new election - and we have more than
met the burden under state law for a new election. And we have asked for a new
election.
9 here, because it involves the presidential election, there is a time issue -- but
there is also a constitutional remedy.
10. the Constitution vests the plenary power to choose presidential electors in the
State Legislatures. If the manner chosen by the legislature is not followed --
which is the case with -the Nov 3 general election -then the legislature must
reclaim its constitutional authority and responsibility to do what the constitution
requires: appoint the presidential electors.

11. Trump campaign has asked the court -- state court in GA - alternative
remedies: 1. Order a new election; OR 2. enjoin the certification, because of all
the illegal votes, and the failure of the Secretary of State and these counties to
follow the Election Code - and let the legislature reclaim its constitutional
authority and just determine the electors.

Look at the press statement also for bullet points re illegal votes. We have a
margin in GA of around 12,000 votes (that number keeps changing) - we have
many more illegal votes than the margin -- and under GA state law, a new
election is the remedy.

POINT: AND THAT'S JUST IN GEORGIA....

I'm also attaching the sworn expert affidavit from Christian Adams - it describes
the national plan by the Democrats to do in these key states the same thing they
did in GA.

Hope this helps. Talk tomorrow. Cleta




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